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                                                                                  11/02/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 THEOPOLIS BURROUGHS,

                                  Petitioner,
                                                                1:20-cv-04814 (ALC)
                      -against-
                                                                Order
 LYNN J. LILLEY,

                                  Respondent.

ANDREW L. CARTER, JR., United States District Judge:

       The Court is in receipt of Petitioner’s motion to compel dated October 22, 2020. ECF No. 13.

Respondent filed for an extension of time by letter motion on September 11, 2020. ECF No. 11. This

Court granted that request on September 17, 2020. ECF No. 12. Thus, the deadline to file and serve

an answer to the petition and the transcripts and briefs identified in Rule 5 of the Rules Governing

Section 2254 Cases was extended to November 20, 2020. Petitioner may file and serve reply papers,

if any, within thirty (30) days from the date he is served with Respondent’s answer.

       Petitioner’s motion to compel is hereby DENIED.

       Respondent is hereby ORDERED to serve this order in addition to the order granting

Respondent an extension of time on Petitioner and file proof of service by November 6, 2020.



SO ORDERED.

Dated: November 2, 2020                                ___________________________________
       New York, New York                                   ANDREW L. CARTER, JR.
                                                            United States District Judge
